                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT


UNITED STATES OF AMERICA,                            )
     Plaintiff,                                      )
                                                     )
       v.                                            )      Docket No. 2:23-cr-00014-cr
                                                     )
RUSSELL MITCHELL,                                    )
     Defendant.                                      )

                                 MOTION FOR DETENTION

       NOW COMES the United States of America, by and through its attorney, Nikolas P.

Kerest, United States Attorney for the District of Vermont and moves for pretrial detention of the

above-named defendant pursuant to 18 U.S.C. § 3142(e) and (f).

       1. Eligibility for Detention. This defendant is eligible for detention because the case

involves an offense under the Controlled Substances Act for which a maximum term of

imprisonment of ten years or more is prescribed. See 18 U.S.C. § 3142(f)(1)(C).

       2. Reason For Detention. The Court should detain the defendant because there are no

conditions of release which will reasonably assure the safety of any other person and the

community.

       3. Rebuttable Presumption. The United States will invoke the rebuttable presumption

against defendant under § 3142(e). The presumption applies because there is probable cause to

believe the defendant committed a drug offense punishable by more than 10 years.

       4. Time For Detention Hearing. The United States requests the Court conduct the

detention hearing upon completion of the pretrial services report.




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Dated at Burlington, in the District of Vermont, August 7, 2023.

                                                    Respectfully submitted,

                                                    NIKOLAS P. KEREST
                                                    United States Attorney


                                            By:
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